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Case 2:19-cv-02622-SVW-GJS Document 1 Filed 04/05/19 Page 3 of 21 Page ID #:3




            taking ~~r his di~a~led senior husband s Patr~~k

            john Mc~reagh~

     r.     B~t~i, ind[i°~r~.duals ha~r~ incu~abl.~ ~i~~~.s~s r cane

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Case 2:19-cv-02622-SVW-GJS Document 1 Filed 04/05/19 Page 7 of 21 Page ID #:7




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Case 2:19-cv-02622-SVW-GJS Document 1 Filed 04/05/19 Page 8 of 21 Page ID #:8




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Case 2:19-cv-02622-SVW-GJS Document 1 Filed 04/05/19 Page 9 of 21 Page ID #:9




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Case 2:19-cv-02622-SVW-GJS Document 1 Filed 04/05/19 Page 10 of 21 Page ID #:10




               dismissal, even though

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               that day five+ sheriffs were sent

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Case 2:19-cv-02622-SVW-GJS Document 1 Filed 04/05/19 Page 11 of 21 Page ID #:11




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             (B) chapter or or section 287,371 (insofar as
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                   in any Federal Court to enjoin such

                   violation.

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Case 2:19-cv-02622-SVW-GJS Document 1 Filed 04/05/19 Page 13 of 21 Page ID #:13




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                  4. or property equivalent value,and
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               5. lack of standing to foreclose
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               7, California Code s2924
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    ~~         9. Assignment of ~ note' lacked ~ralidit~r
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               10. 'Ti~l~ removal fraud'

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Case 2:19-cv-02622-SVW-GJS Document 1 Filed 04/05/19 Page 15 of 21 Page ID #:15




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                5. lack of standing to foreclose

               6. C~alifa~nia Penal Code 132, nab ance but three
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               7. California Code s2924
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   14          8. Sugerior Court lacked subject matter
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               9, Assignment of 'note' lacked validity
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    ~~         10. 'Title removal fraud°
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               11. Banks use of intimiclatiorx~ ~aumiliation rasing
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Case 2:19-cv-02622-SVW-GJS Document 1 Filed 04/05/19 Page 16 of 21 Page ID #:16




      _L.                   Default that
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                          4.totals 6,b81,933.Ofi for mortgage fraud
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             $6,081,933.05 for emotional duress living
             hom~l~ss for 19 months
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    ~~       six times the bank

    ~~       give a~ a amount due on Notice o~ Default that
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             6,081,933.06 for physical duress for the virtual
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                  bank gave as a amount due on Notice of

                  Default that totals 6,081,933.46 fc~r 'lack
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                  6.monetary relief in the amount of

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                  10. monetary relief in the amount of six
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                        Notice of Default that totals
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                  6,081,933.06 for 'Title removal fraud'
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Case 2:19-cv-02622-SVW-GJS Document 1 Filed 04/05/19 Page 19 of 21 Page ID #:19




                         1-    I am stating that I have a ~ra.lid legal

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                         2-~   I am stating that ~C am nt~t filing this

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C~al~far~~ia Jurat I~~~se ~ertific~te


      A Notary Public or other officer completing this certificate verifies only the identity of the
        individual who signed the document to which this certificate is attached, and not the
                        truthfulness, accuracy, or validity of that document.




 State of California

 County of RiversidE


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 me on the ba~i`~of satisfactory evidence to be the perso d(s) who appeared before mc.




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    Case 2:19-cv-02622-SVW-GJS Document 1 Filed 04/05/19 Page 21 of 21 Page ID #:21


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           ~. amount of money that I have in cash or in a ~hecKing or savings account: ~                                                            1 18.00 .

         ~. t'~ny automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instniment or
thi~lg ~f Value that T owu, in~;luding any ltem Of value held ill Someone el5e'S name ("describe the properh=and its appro_rimate
vcrluel=

we have a 2003 Cadallac GTS that we owe $700 ors




           6. Any housing, transp~natrc>n, utilities, ar Iaa~ payments, ~r other regular monthly expenses (d~s~r;6~ nr,d prov~'~te
the amr~unt ujtl~e mnnthly exp~rrse,/:

we are living in our car or motel 6 when we cn afford it...we have a ceN phone bill of $102 monthly, as stated we owe
$700 on nur car. our Motel bill usually runs $500+ a week




        7. frames (or, if under 18, initials only} of all persons who are dependent on one for support, my relationship
with each person, and how much I contribute to their support:
Patrick John McCreagh- Husband




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       Decicrratinrr.~ I e~eclare under penalty of perjury that the above infc~~nation is ;rug and understand that a false
statement rr~av result in a dismissal of my claims.


Date:                04J0412i719
                                                                                                                          tlPpNcunt 's sigizafure


                                                                                                                                    __ Meister
                                                                                                                        James Anthony
                                                                                                                              Printed name
